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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION
______________________________________________________________________________

UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )
                                    )
v.                                  )          No. 1:16-cr-10089-STA-jay
                                    )
CHARLES RAY SMITH,                  )
                                    )
            Defendant.              )
______________________________________________________________________________

  ORDER DENYING DEFENDANT’S MOTION FOR JUDGMENT OF ACQUITTAL
______________________________________________________________________________

       Before the Court is Defendant Charles Ray Smith’s oral motion for Judgment of

Acquittal. The United States has responded in opposition with a written response filed on

October 28, 2020 (ECF No. 124). For the reasons set forth below, the Motion is DENIED.

                                      BACKGROUND

       On September 19, 2016, a grand jury returned an eight-count indictment against Mr.

Smith. A subsequently filed amended indictment charged him with one count of conspiracy to

commit bank fraud, five counts of bank fraud, and two counts of bank fraud. See Amended

Indictment (ECF No. 108). On September 25, 2020, a jury found Mr. Smith guilty of all

charges. After the close of the government’s evidence, Mr. Smith, through his counsel, Mr.

Leffler, moved for a judgment of acquittal on Count 8 of the indictment – bank fraud. Mr.

Leffler argued that there was no indication that Mr. Smith knew that Central Bank was defrauded

by the letter of credit that Christopher Jerrolds wrote as a guarantee to the Bank. The Court

denied Mr. Leffler’s motion, stating that there was sufficient evidence from which a reasonable



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jury could conclude that Mr. Smith was guilty of that count under Rule 29. Mr. Leffler then

renewed his Rule 29 motion “in an omnibus fashion,” for the rest of the counts in the indictment,

relying on the proof, “or lack thereof,” that the Court had heard thus far.

       In its response in opposition, the government argues that a reasonable jury could find Mr.

Smith guilty of all charges based on Jerrolds’ detailed testimony corroborated by Karen Jaggars’

testimony, the number of phone calls between Smith and Jerrolds, evidence of the scheme

between them to defraud Wayne County Bank and First Metro Bank, and the activity in the

Central Bank account owned by Mr. Smith, despite an actual lack of funds in the account,

resulting in a $3.9 million loss to Central Bank.



                                   STANDARD OF REVIEW

       Federal Rule of Criminal Procedure 29(c) permits a district court to enter a judgment of

acquittal after a jury has returned a guilty verdict. Fed. R. Crim. P. 29(c). “The test for denial of

a judgment of acquittal pursuant to Rule 29 of the Federal Rules of Criminal Procedure is the

same as the test for reviewing a claim that the evidence is insufficient to support a conviction.”

United States v. Pennyman, 889 F.2d 104, 106 (6th Cir. 1989).             In reviewing claims for

sufficiency of the evidence to support a conviction, the Court should review the record in the

light most favorable to the prosecution and grant relief only if it is found that upon the evidence

adduced at trial, no rational trier of fact could have found proof of guilt beyond a reasonable

doubt. Jackson v. Virginia, 443 U.S. 307, 324 (1979); see also United States v. Acosta-Cazares,

878 F.2d 945, 954–52 (6th Cir. 1989).

       In deciding a motion for judgment of acquittal, the Court may not make its own

determinations with respect to the credibility of witnesses or the weight to be given such


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evidence.   United States v. Levy, 904 F.2d 1026, 1032 (6th Cir. 1990). The government must

receive the benefit of all inferences which can reasonably be drawn from the evidence. Glasser

v. United States, 315 U.S. 60, 80 (1942). Under the Rule 29 standard, “circumstantial evidence

alone is sufficient to sustain a conviction and such evidence need not remove every reasonable

hypothesis except that of guilt.” United States v. Abner, 35 F.3d 251, 253 (6th Cir. 1994); United

States v. Prieur, 429 F.2d 1237, 1238 (6th Cir. 1970). The Sixth Circuit has stated that a

defendant claiming, “insufficiency of the evidence bears a very heavy burden.” Abner, 35 F.3d

at 253; United States v. Vannerson, 786 F.2d 221, 225 (6th Cir. 1986).




                                          ANALYSIS

       Mr. Smith’s oral “omnibus motion” based on a general insufficiency of evidence is

insufficient to show why the Court should enter a judgment of acquittal.          The following

addresses Mr. Smith’s Rule 29 motion as relates to Count One, conspiracy to commit bank fraud

and Counts Two – Six and Nine, bank fraud. The Court heard argument on Mr. Smith’s Rule 29

motion with regard to Count Eight and denied the motion in open court.

       As the Court instructed the jury, the elements of conspiracy to commit bank fraud are 1)

that two or more persons conspired, or agreed, to commit the crime of bank fraud, 2) that the

defendant knowingly and voluntarily joined the conspiracy, and 3) that a member of            the

conspiracy did one of the overt acts described in the indictment for the purpose of advancing or

helping the conspiracy. See Jury Instructions at 9 (ECF No. 119).

       To prove that a conspiracy existed, the government need not show a formal
       written agreement. United States v. Crossley, 224 F.3d 847, 856 (6th Cir.2000).
       A showing of “tacit or mutual understanding among the parties” is



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       sufficient. Id. (internal quotation marks omitted). “Likewise, direct evidence of
       the conspiracy is not necessary. It is enough to present circumstantial evidence
       which a reasonable person could interpret as showing participation in a common
       plan.” United States v. Hunt, 521 F.3d 636, 647 (6th Cir.2008) (alterations and
       internal quotation marks omitted). “Once a conspiracy has been established, the
       prosecution need only produce slight evidence to implicate the defendant.”
       United States v. Sturman, 951 F.2d 1466, 1474 (6th Cir.1991).

United States v. Fisher, 648 F.3d 442, 450–51 (6th Cir. 2011) (denying defendant’s Rule 29

motion for acquittal on the count of conspiracy).

       The federal bank fraud statute requires 1) that the defendant knowing executed or

attempted to execute a scheme to obtain any of the money, funds, or property owned by and in

the custody and control of a bank by means of false or fraudulent pretenses, representations, or

promises; 2) that the scheme included a material misrepresentation or concealment of a material

fact; 3) that the defendant had the intent to deceive or cheat someone for the purpose of wither

causing a financial loss to another or bringing about a financial gain to himself or another

institution; and 4) that the bank or financial institution was federally insured.       See Jury

Instructions at 12. See also United States v. Warshak, 631 F.3d 266, 312 (6th Cir. 2010).

       Here, the jury heard evidence that Mr. Smith, together with Mr. Jerrold, worked together

to propagate Mr. Smith’s check kiting scheme and disguise the same from Central Bank’s Board

of Directors. Karen Jaggers testified that Mr. Smith brought her an assortment of checkbooks

from accounts for various of Mr. Smith’s businesses, some of which no longer existed. These

accounts were almost depleted, yet Mr. Smith instructed Ms. Jaggers to write checks from them

and to deposit the checks into a Central Bank account, the “TMC” account, as it became

overdrawn, a scheme known as “check kiting.” Mr. Jerrolds testified that he approved the deposit

of these checks, circumventing necessary Board approval, and advised Mr. Smith on the amounts



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needed to cover the deficits in his account. The jury was presented evidence from Mr. Smith’s

phone records that showed that Mr. Smith and Mr. Jerrolds spoke exceedingly often on the

phone – over two thousand times throughout the course of the conspiracy. Mr. Jerrolds testified

that those conversations almost exclusively revolved around disguising their check kiting

scheme. Mr. Jerrolds additionally testified that he further assisted Mr. Smith in continuing his

scheme by convincing the Board to convert his $3.9 million deficit with Central Bank into a

loan, which Mr. Jerrolds did not record with the Bank. To cover that debt, Mr. Jerrolds wrote

letters of credit to First Metro Bank and Wayne County Bank to serve as collateral for Mr. Smith

to obtain loans from those banks. The jury heard testimony from Mr. Jerrolds, Mr. Smith, and

the representatives of the banks, which together weaved the narrative that Mr. Smith hand-

delivered at least one letter of credit to First Metro Bank, that Mr. Smith failed to disclose

material information to First Metro Bank and Wayne County Bank, including the incriminating

fact that Central Bank failed to authorize the letters of credit. In exchange for his assistance with

the letters of credit, Mr. Smith, on two separate occasions, handed Mr. Jerrolds bags full of cash.

The jury was presented with evidence from an FDIC investigation suggesting that the timing of

the deposit of the loans from Wayne County Bank and First Metro Bank coincided with strategic

filling of deficits created by the kiting scheme and Mr. Smith’s expenditures.

       Viewing the evidence in the light most favorable to the prosecution, the government’s

proof easily satisfied the elements of the charge under conspiracy and conspiracy to commit bank

fraud. Mr. Smith has not carried his “very heavy burden” to show that the evidence was

insufficient to support the verdict. Abner, 35 F.3d at 253. Therefore, Mr. Smith’s Rule 29

Motion is DENIED.




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                                       CONCLUSION

       Having concluded that Mr. Smith has not carried his burden to show why he is entitled to

a judgment of acquittal; his Motion is DENIED.

       IT IS SO ORDERED.
                                           s/ S. Thomas Anderson
                                           S. THOMAS ANDERSON
                                           CHIEF UNITED STATES DISTRICT JUDGE

                                           Date: November 9, 2020.




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